
The CHIEF JUSTICE
delivered the opinion of the court.
The proof shows that the brig was the property of a neutral merchant of the island of Jersey, fully documented as a British merchantman, and regularly cleared from London to Matamoras.
The cargo was shipped by the charterers of the vessel for neutral owners, and consigned to neutrals at Matamoras, but had not been discharged at the time of capture.
It consisted in part of bales of confederate uniform cloth, of the same mark and of corresponding numbers with like goods found on the Science; but there is no proof of unlawful destination.
The brig, however, anchored in Texan waters, near the coast, and remained there until captured.*
This circumstance alone did not warrant condemnation, though, in connection with the character of the cargo, it justified capture.
The decree of the District Court must be reversed; and a decree of restitution, on payment of costs and charges, must be entered instead of it.
Reversal and decree .accordingly.

 See chart, supra, p. 173—Rep,

